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January 28, 2022

Honorable Nancy Hershey Lord
United States Bankruptcy Court
Eastern District of New York
271 Cadman Plaza East
Brooklyn, NY 11201

       RE:    Robin Johnson
              Chapter 13
              Case Number: 1-20-40333-NHL
              SD&B File Number: 19-083417

Dear Judge Lord:

This loss mitigation status letter is submitted on behalf of Deutsche Bank Trust Company
Americas, as Trustee for Residential Accredit Loans, Inc., Mortgage Asset-Backed Pass-Through
Certificates, Series 2006-QS17, a secured creditor of the above referenced Debtor.

On March 30, 2020 an order was entered for our client to participate in loss mitigation with the
Debtor. On April 2, 2020 our office filed a Creditor’s Affidavit with this Court and provided
Debtor and Debtor’s Counsel with a financial package. As Debtor had submitted some financial
information prior to this Court entering the order, a list of missing items was included with the
Creditor’s Affidavit. On June 6, 2020, Debtor submitted documents to our office, which were
promptly provided to our client for review.                Since that time the exchange of
information/documentation has been on-going. . The review resulted in our client offering a Trial
Modification Payment Plan to which the debtor has accepted. The Trial Modification Plan
consisted of three payments due on the first of each month beginning December 1, 2020 in the
amount of $4,844.00 per month. The Trial Modification Payment Plan was successfully completed
and our client is now preparing a final modification to be offered. In preparation of the final
modification it was confirmed that a letter of indemnity is needed from First American Title
Insurance Company addressed to Old Republic. Our client has confirmed that the letter of
indemnity has been issued and is being sent to the title company. The modification documents
should be drawn up shortly. We have been following up regularly with our client for the
documents and hope to have them prior to the next hearing




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Should this Court have any questions, please do not hesitate to contact me. Thank you.

Very truly yours,

/s/Shari Barak_ ______________________
Shari S. Barak, Esq.
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